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                                CERTIFICATE OF SERVICE

        I, Michelle L. Morgan, hereby certify that on this 13th day of February 2023, I caused a

 true and correct copy of the [UNDER SEAL] Motion in Support of Defendants’ Motion to

 Exclude Relator’s Expert Virginia B. Evans to be filed with the Clerk of the District Court of

 Delaware using CM/ECF in order to be served upon all counsel of record and upon the below in

 the following manner via electronic mail:

                                                   Daniel R. Miller
                                                   WALDEN, MACHT & HARAN LLP
                                                   800 N. King Street, Suite 303
                                                   Wilmington, DE 19801
                                                   Tel: (302) 540-1568
                                                   Email: dmiller@wmhlaw.com

                                                   Attorneys for Relator



                                                   /s/ Michelle L. Morgan
                                                   Michelle L. Morgan (Bar No. 3651)
